












               



In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-03-00326-CR

____________


KENNETH PARKER, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 185th District Court

Harris County, Texas

Trial Court Cause No. 936221






MEMORANDUM  OPINION

	Appellant pleaded guilty to forgery and true to allegations that he had twice
been convicted of felony offenses included in two punishment-enhancement
paragraphs.   In accordance with a plea bargain agreement with the State, the trial
court sentenced appellant to confinement for 10 years. Appellant filed timely notice
of appeal.  We dismiss for lack of jurisdiction.

	Rule 25.2(a) of the Texas Rules of Appellate Procedure provides, in
pertinent part:

	In a plea bargain case -- that is, a case in which a defendant's
plea was guilty or nolo contendere and the punishment did not
exceed the punishment recommended by the prosecutor and
agreed to by the defendant -- a defendant may appeal only:


	(A)	those matters that were raised by written motion filed and
ruled on before trial, or


	(B)	after getting the trial court's permission to appeal.


Tex. R. App. P. 25.2(a)(2).

	The trial court's certification of defendant's right of appeal states that this
"is a plea-bargain case, and the defendant has NO right of appeal."  (Emphasis in
original.)  See Tex. R. App. P. 25.2(d).

	We also note that appellant waived his right to appeal.  See Buck v. State,
45 S.W.3d 275, 278 (Tex. App.--Houston [1st Dist.] 2001, no pet.).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

	All pending motions are denied as moot.

PER CURIAM

Panel consists of Chief Justice Radack, and Justices Alcala and Higley.

Do not publish.   Tex. R. App. P. 47.2(b).


